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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF VIRGINIA
                              Charlottesville Division

  LORI FITZGERALD, et al.,           )     Case No. 3:20-cv-00044-NKM-JCH
                                     )
                     Plaintiffs,     )
                                     )
  vs.                                )
                                     )
  JOSEPH WILDCAT SR., et al.,        )
                                     )
                     Defendants.     )

          DEFENDANTS JOSEPH WILDCAT, SR., JESSI LORENZO, AND NICOLE
        REYNOLD’S BRIEF IN SUPPORT OF MOTION TO DISMISS FOR FAILURE TO
                                 STATE CLAIM
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  I.     INTRODUCTION

         The Lac du Flambeau Band of Lake Superior Chippewa Indians (the “Tribe”) is a federally

  recognized Indian tribe. The Tribe is located in north central Wisconsin. The Tribal Council enacts

  and administers the Tribe’s laws.1

         Similar to other tribes, and in accordance with federal policy, the Tribe aims for a self-

  sustaining economy so that it need not rely on the federal government. See Native American

  Business Development, Trade Promotion, and Tourism Act of 2000, 25 U.S.C. § 4301. The Tribe,

  like many others, has turned to e-commerce and the online financial services industry for revenue.

  See Lac du Flambeau Band of Lake Superior Indians Tribal Code Ch. 94 “Tribal Consumer

  Financial Service Regulatory Ordinance” (“Ch. 94”).2

         The Tribe is a sovereign government. In re Brian W. Coughlin, No. 19-14142, 2020 WL

  6140388 (Bankr. D. Mass. Oct. 19, 2020); see Worcester v. Georgia, 31 U.S. (6 Pet.) 515 (1832).

  As elected officials of a sovereign, the Tribal Council passed comprehensive protections to

  consumers who choose to access services within the Tribe’s jurisdiction. See generally Ch. 94.

  Chapter 94 incorporates the substantive standards of numerous federal consumer protection

  statutes, including the “Dodd-Frank Wall Street Reform and Consumer Protection Act,” the “Truth

  in Lending Act,” the “Equal Credit Opportunity Act,” the “Fair Credit Reporting Act,” and the

  “Fair Debt Collection Practices Act,” among other federal laws. See Ch. 94 § 7.2.

         Similar to some states, however, the Tribe opted not to include an interest rate limit in its

  laws. As a result, non-deceptive unsecured loans at high interest rates—priced to reflect the credit



         1
           Bylaws, Art. III, https://www.ldftribe.com/uploads/files/Court-
  Ordinances/BYLAWS.pdf
         2
             https://www.ldftribe.com/uploads/files/Court-Ordinances/CHAP94-Tribal-Consumer-
  Financial-Services-Reulatory-Ordinance.pdf

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  risk presented by the customers—are generally legal under the Tribe’s laws, as they are in several

  states.

            No doubt this is a hotly debated policy issue. Proponents of usury limits believe high-

  interest loans are predatory; opponents of usury limits believe high-credit-risk individuals deserve

  access to emergency capital. Either way, the federal government has not spoken on the issue, so

  the question is resolved on a state-by-state, sovereign-by-sovereign basis.

            To offer online consumer loans, the Tribe created tribally owned businesses under Chapter

  44a of the Tribal Code.3 These businesses operate under the Tribe’s sovereign immunity, except

  as expressly waived in writing. Ch. 44a §103(2).

            Plaintiffs are five individuals who took out loans through tribally owned businesses, which

  are afforded sovereign immunity just like the Tribe. The loan documents waived the business’

  immunity only to the extent that Plaintiffs brought claims under Tribal or federal law in arbitration.

  But Plaintiffs chose federal court instead of arbitration, and they prefer their state’s laws to tribal

  or federal law. So instead of asserting claims against the tribally owned businesses that actually

  lent the money, Plaintiffs sue Joseph Wildcat Sr., Jessi Lorenzo, and Nicole Reynolds (the “Tribal

  Defendants”) (who did not lend the money) as an end-run around the tribally owned businesses’

  sovereign immunity. These legal gymnastics result in a deficient pleading and the assertion of

  claims upon which relief may not be granted.

            First, Plaintiffs fail to plead that specific defendants committed specific misconduct.

  Instead, Plaintiffs lodge a shotgun pleading, alleging one of over ten defendants committed the

  exact same misconduct in conclusory fashion. Plaintiffs likewise fail to plead a RICO enterprise



            3
            https://www.ldftribe.com/uploads/files/Court-Ordinances/CHAP44a-Tribally-Owned-
  Business-Organization-Code-1-.pdf

                                                     2
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  or that the enterprise is distinct from the defendants. As result, Plaintiffs’ Count One (RICO under

  1962(c)) should be dismissed.

         Second, Plaintiffs’ RICO conspiracy claim fails because it is barred by the intracorporate

  conspiracy doctrine and because Plaintiffs fail to plead an agreement amongst defendants. Thus,

  Plaintiffs’ Count Two (RICO under 1962(d)) should be dismissed.

         Third, without a federal cause of action, this Court cannot exercise pendent jurisdiction

  over the statutory state law claims. Even if it could, Plaintiffs admit that the Tribal Defendants are

  not lenders, and no state licensing law provides a private right of action. So, the claims would fail

  even if the Court could address them. And Plaintiffs cannot use the Declaratory Judgment Act as

  a basis for relief without underlying state or federal claims. Plaintiffs’ Counts Three and Four

  should therefore be dismissed.

         Fourth, Plaintiffs do not lodge the unjust enrichment claim (Count Five) against the Tribal

  Defendants, precluding any reading of the Complaint that permits this claim against them.

         For these reasons, Plaintiffs’ Amended4 Complaint should be dismissed.

  II.    PLAINTIFFS’ COMPLAINT

  A.     The Tribal Defendants

         Mr. Wildcat. Plaintiffs allege he is a resident of Wisconsin and “currently a general council

  member and previously served as President of the Band between 2016 and 2020. Both as the

  President and a general member of the Tribal Council, Defendant Wildcat’s role and duties include

  oversight and management of ‘all economic affairs and enterprises of the Tribe,’ including its

  lending activities.” Doc. 99 ¶ 16.


         4
            Plaintiffs’ Amended Complaint adds many new defendants, none of whom reside in
  Virginia. If defendants ultimately file answers, at which point the relevant and material witnesses
  will become clear, Plaintiffs may move to transfer venue for convenience purposes under 28
  U.S.C. § 1404(a).

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           Ms. Reynolds. Plaintiffs allege that Ms. Reynolds is a resident of Wisconsin and that “[s]he

  is or has previously served as the Board President for the LDF Business Development Corp.” Id.

  ¶ 28.

           Ms. Lorenzo. Plaintiffs allege that Ms. Lorenzo “is a resident of Florida and holds herself

  out as both the President of LDF Holdings and the Vice President of Lending at LDF Holdings.”

  Id. ¶ 29.

  B.       The Plaintiffs

           Aaron Fitzgerald. Mr. Fitzgerald applied for and received a loan from non-party

  Ishwaaswi, LLC d/b/a Radiant Cash. Doc. 99 at ¶ 146. He applied for the loan using his Virginia

  address. Id. ¶ 158.

           Lori Fitzgerald. Ms. Fitzgerald applied for and received a loan from non-party

  Niizhwaaswi LLC, d/b/a Loan at Last. Id. ¶ 159. She applied for the loan using her Virginia

  address. Id. ¶ 162.

           Kevin Williams. Mr. William applied for and received loans from non-party Niizhwaaswi

  LLC, d/b/a Loan at Last, non-party Niswi, LLC d/b/a Amplify Funding, and non-party Makwa,

  LLC d/b/a Makwa Finance. Id. ¶¶ 163-165. Mr. Williams applied for the loans using his Georgia

  address. Id. ¶ 172.

           Jade Singleton. Ms. Singleton applied for and received loans from non-party Niswi, LLC

  d/b/a Lendumo. Id. ¶ 173. She applied for the loan using her Maryland address. Id. ¶ 180.

           Angela Maville. Ms. Maville applied for and received a loan from Ningodwaaswi, LLC

  d/b/a Sky Trail Cash. Id. ¶ 181. Ms. Maville applied for the loan using her Florida address. Id. at

  ¶ 187.




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   III.      STANDARDS OF REVIEW

   A.        Federal Rule of Civil Procedure 12(b)(6)

             “The motion to dismiss standard under Federal Rule of Civil Procedure 12(b)(6) is set forth

   in Ashcroft v. Iqbal, 556 U.S. 662 (2009).” Kiessling v. State Farm Mut. Auto. Ins. Co., No. CV

   18-4281, 2019 WL 634639, at *2 (E.D. Pa. Feb. 14, 2019). After Iqbal, “threadbare recitals of the

   elements of a cause of action, supported by mere conclusory statements, do not suffice to defeat a

   Rule 12(b)(6) motion to dismiss.” Id. (internal quotations omitted). To survive a motion to

   dismiss, the complaint must contain sufficient factual matter, accepted as true, to state a claim for

   relief that is “plausible on its face.” Id. (quoting cases). “Facial plausibility is ‘more than a sheer

   possibility that a defendant has acted unlawfully.’” Id. To have facial plausibility, the plaintiff

   must plead “factual content that allows the court to draw the reasonable inference that the

   defendant is liable for the misconduct alleged.” Id.

   IV.       ARGUMENT

          A. Plaintiffs’ Federal RICO Claims Must be Dismissed

             Plaintiffs’ Counts One and Two assert RICO claims under 18 U.S.C. § 1962. Count One

   asserts claims under subsection (c) and Count Two asserts claims under subsection (d). The

   subsection (c) claims fail because Plaintiffs assert conclusory wrongdoing in shotgun fashion, and

   none of the specific allegations establish wrongdoing by any Tribal Defendant. Moreover,

   Plaintiffs fail to plead adequately an enterprise or that the enterprise is distinct. The subsection (d)

   claims fail because the intracorporate conspiracy bars the claims and, in addition, Plaintiffs fail to

   plead an agreement. For these reasons, the federal RICO claims must be dismissed.




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              1. Plaintiffs’ 1962(c) claims must be dismissed (COUNT ONE)

                     a. Plaintiffs’ shotgun pleading fails to attribute misconduct to any
                     defendant on an individual basis.

          The majority of the Amended Complaint is not aimed at Tribal Defendants. The

   Amended Complaint is 262 paragraphs. Hardly any of it even claims to describe the conduct—let

   alone misconduct—of any Tribal Defendant in a factual manner:

                 Conclusory introduction of the claims and relief sought. Doc. 99 ¶¶ 1-8.

                 Recitation of jurisdiction and venue. Id. ¶¶ 9-10.

                 Recitation of the parties. Id. ¶¶ 11-31.

                 Recitations of state usury laws. Id. ¶¶ 32-60.

                 Recitation of other tribes’ alleged lending structures. Id. ¶¶ 61-97.

                 Recitation of conduct undertaken by non-tribal defendants. Id. ¶¶ 98-111.

                 Recitation of RICO case law. Id. ¶¶ 112-117.

                 Recitation of creation of lending entities. Id. ¶¶ 118-129.

                 Recitation of the job history of one defendant. Id. ¶¶ 130-134.

                 Recitation of the non-party entities that made the loans. Id. ¶¶ 146-187.

                 Threadbare recitations of causes of action Id. ¶¶ 188-262.

          The allegations of misconduct are pleaded in a shotgun manner. Sandwiched between

   those largely irrelevant allegations are a few threadbare allegations that the Tribal Defendants

   committed misconduct. “A Shotgun pleading is ‘[a] complaint that fails to articulate claims with

   sufficient clarity to allow the defendant to frame a responsive pleading.’” Hill v. Stryker Sales

   Corp., No. 4:13-CV-0786-BHH, 2014 WL 4198906, at *2 (D.S.C. Aug. 20, 2014). A complaint

   constitutes an impermissible shotgun pleading where it is unclear which defendants are allegedly

   responsible for which alleged misconduct. McCrea v. Wells Fargo, No. CV RDB-18-2490, 2019

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   WL 2513770, at *7 (D. Md. June 17, 2019), motion for relief from judgment denied, No. CV RDB-

   18-2490, 2019 WL 4962022 (D. Md. Oct. 8, 2019). Also, vague allegations that the alleged

   violation was made by “Defendants” is not sufficient and constitutes a shotgun pleading. Hirsch

   v. Lyndon S. Ins. Co., No. 3:17-CV-1215-J-39JBT, 2019 WL 5110622, at *4 (M.D. Fla. June 7,

   2019), report and recommendation adopted sub nom. Hirsch v. Ensurety Ventures, LLC, No. 3:17-

   CV-1215-J- 39JBT, 2019 WL 8370863 (M.D. Fla. Aug. 6, 2019), aff’d, 805 F. App’x 987 (11th

   Cir. 2020) (citing cases).

             According to Plaintiffs, “Defendants . . . marketed, initiated, and collected usurious loans

   through the country[.]” Doc. 99 at ¶ 141 (emphasis added). And “Defendants knew the loans were

   illegal[.]” Id. at ¶ 142 (emphasis added). And an unidentified “[t]hey” charged “astronomical

   interest rates that far exceed rates allowed by applicable state laws.” Id. at ¶ 143 (emphasis added).

   And it is unlawful for “Defendants, LDF Holdings [a non-party], or any of their affiliates to collect

   or receive any principal, interest or charges whatsoever on said loans[.]” Id. at ¶ 145 (emphasis

   added).

             While Plaintiffs allege each defendant is liable for their own misconduct, Plaintiffs fail to

   allege how each defendant participated in such misconduct. Instead, allegedly over ten

   “Defendants” committed every facet of every aspect of the alleged misconduct—but which

   defendant, when, how, for what purpose, with what level of scienter, and the like is left to the

   reader’s imagination. Thus, the Complaint simply does not “plead[] factual content that allows the

   [C]ourt to draw the reasonable inference that the defendant is liable for the misconduct alleged.”

   Jackson v. Warning, No. CV PJM 15-1233, 2016 WL 7228866, at *4 (D. Md. Dec. 13, 2016)

   (quoting Iqbal, 556 U.S. at 663).




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          The allegations related to authority are copied and pasted. In the section reciting the

   parties (Doc. 99 ¶¶ 11-31), Plaintiffs copied and pasted their allegations related to each member

   of the Tribal Council’s authority. To read the allegations against Joseph Wildcat Sr., for example,

   is to read the allegations against them all. According to Plaintiffs, each member of the Tribal

   Council’s duties includes (or included) “oversight and management of ‘all economic affairs and

   enterprises of the Tribe,’ including its lending activities.” Id. ¶ 16 (quoting the Tribe’s Bylaws).

   Each member allegedly “meets [or met] twice a month with other members” to “implement high-

   level management of the LDF Lending Entities,” including creating “the entities” and approving

   the “servicing agreements”. Id. ¶ 16.

          That the members of the Tribal Council “manage” all “economic affairs” is merely a

   threadbare reference to the “operate or management” test under RICO case law,5 appended to a

   recitation of the Tribe’s Bylaws. See Doc. 99 ¶ 16 (citing Art. VI(f) of the Tribe’s Bylaws).

   Threadbare references to each members’ official duties are not “factual content” that allows the

   Court to draw reasonable inferences that any individual engaged—in his or her personal capacity

   no less—in a violation of the RICO statute.

          No defendant made any of the alleged illegal loans. The crux of Plaintiffs’ claims is that

   usurious loans were made. But made by whom? Not Tribal Defendants. Instead, Plaintiffs readily

   admit that the loans were allegedly made by non-party entities. Compare Doc. 99 ¶¶ 146-187

   (setting forth the non-defendants that made the loans) with id. ¶¶ 11-31 (setting forth the parties).

   This fact alone explains why Plaintiffs’ factual allegations against the Tribal Defendants are so




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            Reves v. Ernst & Young, 507 U.S. 170, 179 (1993) (“The ‘operation or management’ test
   express this requirement . . . .”)

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   deficient: Plaintiffs are suing the wrong parties, and try as they might, Plaintiffs cannot state a

   claim against Tribal Defendants.

                                                  *****

          Individually and collectively, Plaintiffs do not state a cause of action against each Tribal

   Defendant because: (1) the majority of the Amended Complaint does not describe their conduct,

   (2) the portion of the complaint related to misconduct is pleaded in shotgun fashion, (3) the portion

   of the complaint related to authority is simply a copy-and-paste job of the Tribe’s Bylaws and

   RICO case law, and (4) the thrust of Plaintiffs’ claims is that entities who are not defendants

   allegedly made illegal loans. Against that backdrop, Plaintiffs try to hide their lack of claims

   against the Tribal Defendants through the faux complexity of a statutory RICO claim.

                      b. Plaintiffs fail to plead an enterprise.

          Plaintiffs fail to plead sufficient facts to establish a RICO enterprise, and they do so through

   a clever pleading tactic.

          Section E of the Amended Complaint purports to set forth the “RICO Enterprise(s).” See

   Doc. 99 ¶¶ 112-140. In the beginning of that section, in paragraphs 112 through 117, Plaintiffs set

   forth general case law related to RICO enterprises. And then Plaintiffs use a clever pleading tactic:

   In paragraph 118, Plaintiffs allege “As detailed above, Defendants created an array of different

   companies for the purpose of making usurious loans . . . .” Doc. 99 ¶ 118 (emphasis added). But

   “detailed above” were other alleged tribal lending “schemes”—not ones allegedly undertaken by

   Tribal Defendants. See id. ¶¶ 61-97.

          Plaintiffs simply do not allege any facts that would allow the Court to plausibly infer the

   alleged participants in this purported enterprise—as opposed to other alleged tribal lending

   programs—engaged in the allegedly common purpose, or to identify the exact roles and

   responsibilities of the alleged participants (save for copying and pasting the Tribe’s Bylaws).
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   Without more, such “‘vague allegations of a RICO enterprise . . . lacking any distinct existence

   and structure’ will not survive dismissal.” Nunes v. Fusion GPS, 531 F. Supp. 3d 993, 1007 (E.D.

   Va. 2021) (holding that Plaintiff’s “rote allegations that Defendants ‘operated’ and ‘conducted the

   business of the enterprise’ . . . unsupported by any specific fact[,]” and “mere conclusory language

   that Defendants and supposed enterprise participants operated as a RICO enterprise” fails to satisfy

   the requirements of Rule 12(b)(6) to plead an enterprise under RICO); Mitchell Tracey v. First

   Am. Title Ins. Co., 935 F. Supp. 2d 826, 843 (D. Md. 2013) (citation omitted); see also Grant v.

   Shapiro & Burson, LLP, 871 F. Supp. 2d 462, 473 (D. Md. 2012) (dismissing RICO claim that

   “contain[ed] no factual averments regarding the relationships between or among Defendants, much

   less how they functioned as a continuing unit”); Adolphe v. Option One Mortg. Corp., No. 3:11-

   cv-418, 2012 WL 5873308, at *5 (W.D.N.C. Nov. 20, 2012) (dismissing RICO claim where

   “Plaintiff failed to aver any factual allegations that demonstrate the individual roles played by each

   Defendant, much less how those roles combined to form a continuing unit, or ‘enterprise’”).

                      c. Plaintiffs fail to plead distinctness.

          Looking past Plaintiffs’ deficient allegations of an enterprise, Plaintiffs in conclusory

   fashion fail to plead a “RICO enterprise that operates or functions in a way distinct from the

   defendants themselves.” Myers v. Lee, No. 1:10CV131 AJTJFA, 2010 WL 3745632, at *4 (E.D.

   Va. Sept. 21, 2010). A “RICO person must be distinct from the RICO enterprise.” Id. at *3. As a

   result, “liability depends on showing that the defendants conduct or participated in the conduct of

   the ‘enterprise’s affairs,’ not just their own affairs.” Id. The “sum total of the allegations” cannot

   merely allege “that the defendants associated themselves for the purpose of conducting” their

   “business affairs through entities created for that purpose.” Id. at *5.

          In Plaintiffs’ view, the Tribal Council has the power to manage lending activities. Doc. 99

   ¶ 122. And the Tribal Council has allegedly, in turn, delegated agents or entities to manage those
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   lending activities as an unlawful enterprise. Id. ¶¶ 123-129. But that simply means “[t]here is a

   complete overlap between the defendants, their alleged agents, and the enterprise.” Myers, 2010

   WL 3745632, at *4. It is of no concern that Plaintiffs summarily plead a “series of interconnecting

   agency relationship, including . . . non-party participants.” Id. at *3. Because, even so, “nowhere

   in the Amended Complaint are there any allegations that the affairs of the enterprise are any

   different from the affairs of the defendants.” Id. at *4.

             Plaintiffs cannot turn a business relationship into a RICO enterprise by invoking the

   ephemeral phrase “association-in-fact” or other similar legal tests. At the end of the day, Plaintiffs

   alleged that the Tribal Defendants have the power to engage in a lending business and engaged in

   a lending business through the Tribe’s entities and agents. There is thus no “purpose” of the

   defendants that is “distinct from the goals and objectives” of the alleged enterprise (which are,

   according to Plaintiffs, simply defendants’ agents). Id. at *5.

                2. Plaintiffs’ 1962(d) claims must be dismissed (COUNT II)

                        a. Intracorporate conspiracy bars Plaintiffs’ RICO conspiracy claim.

             Pursuant to the intracorporate conspiracy doctrine, a business entity “cannot conspire with

   its employees, and its employees, when acting in the scope of their employment, cannot conspire

   among themselves.” Balt.-Wash. Tel. Co. v. Hot Leads Co., LLC, 584 F. Supp. 2d 736, 744 (D.

   Md. 2008). This is because the “acts of corporate agents are attributed to the corporation itself,

   thereby negating the multiplicity of actors necessary for the formation of a conspiracy.” Id.; see

   also Walters v. McMahen, 795 F. Supp. 2d 350, 358 (D. Md. 2011) (“[T]he Fourth Circuit has

   consistently found that the intracorporate conspiracy doctrine can be broadly applied to conspiracy

   cases, including civil RICO claims.”). The doctrine extends not only to a company’s employees,

   but also to its subsidiaries, sister companies, and other corporate affiliates. Bailey, 992 F. Supp. 2d

   at 568.

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             The intracorporate conspiracy doctrine squarely applies here. Plaintiffs allege that the

   “Tribal Council” (which controls the Tribe) conspired with its subsidiaries (which are Tribal

   businesses), and non-tribal members “including but not limited to Pruett and Sky Trail Servicing

   Group” (which, according to Plaintiffs, “delegat[ed] responsibilities over the day-to-day

   operations” of the tribal lending business by the Tribe, see, e.g., Doc. 99 ¶ 16). But Plaintiffs do

   not allege that any of the individual defendants or unnamed individuals ever acted outside the

   scope of their employment or agency relationships. Thus, Plaintiffs’ own allegations run them

   headlong into the intracorporate conspiracy bar.

                        b. Plaintiffs fail to plead an agreement.

             A RICO conspiracy requires “the knowing agreement to participate in an endeavor which,

   if completed, would constitute a violation of the substantive statute.” United States v. Mouzone,

   687 F.3d 207, 218 (4th Cir. 2012) (quotations and citations omitted). “[T]o prove a RICO

   conspiracy, two things must be established: ‘(1) that two or more people agreed to commit a

   substantive RICO offense and (2) that the defendant knew of and agreed to the overall objective

   of the RICO offense.’” Solomon v. Am. Web Loan, No. 4:17CV145, 2019 WL 1320790, at *11

   (E.D. Va. Mar. 22, 2019) (quoting United States v. Posada-Rios, 158 F.3d 832, 857 (5th Cir.

   1998)).

             Plaintiffs fail to adequately plead an agreement to violate RICO. Plaintiffs simply assert,

   in conclusory fashion, that the Defendants “aid[ed], abet[ed], and facilitate[ed] a series of

   agreements designed to § 1962(b)-(c) . . . . ” Doc. 99 ¶ 223. Plaintiffs do not explain how, when,

   or where an agreement was reached (or even that an agreement was reached), nor do Plaintiffs

   explain what it means to facilitate an agreement “designed to” violate other sections of the RICO

   statute. Absent well-pleaded facts showing how, when, and where the alleged agreement occurred,

   the RICO conspiracy claim fails. See, e.g., Rojas v. Delta Airlines, Inc., 425 F. Supp. 3d 524, 538
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   (D. Md. 2019) (“That Defendants reached an express or tacit agreement to fraudulently collect the

   [purportedly unlawful] Tax is conclusory, and Plaintiffs fail to provide any specific allegations as

   to how, when, or where this agreement actually occurred or who made what communications to

   bring the agreement about.”).

       B. Plaintiffs’ State Law Claims Must be Dismissed (COUNTS III AND IV)

            Plaintiffs purport to bring claims under a litany of state laws, despite Plaintiffs only residing

   in Virginia, Georgia, Maryland, and Florida. In the interest of judicial economy, the Tribal

   Defendants will broadly address why those four state law claims fail.6

            First, for the reasons stated above, Plaintiffs’ alleged federal causes of action fail. If “the

   federal claims are dismissed before trial . . . the state claim should be dismissed.” Alexandria

   Resident Council, Inc. v. Alexandria Redevelopment & Hous. Auth., 11 F. App'x 283, 287 (4th Cir.

   2001). If there is an early dismissal of the federal cause of action, the “justifications behind pendent

   jurisdiction” over state law claims are “typically absent.” Id. It is therefore an abuse of discretion

   to exercise pendent jurisdiction over state law claims after dismissing federal claims well before

   trial. Id.

            Second, even if this Court had jurisdiction, Plaintiffs’ own allegations show that they have

   no state law claims against the Tribal Defendants. Plaintiffs allege that the “LDF Lending

   Entities”—which are non-parties to this suit—purportedly violated state laws by making the loans.

   See Doc. 99 ¶ 232. These state laws, according to Plaintiffs, apply to “lenders.” Id. ¶¶ 146-187.

   But nowhere do Plaintiffs allege that any of the Tribal Defendants were lenders. Indeed, Plaintiffs

   allege the exact opposite: the lenders are non-parties. Id. ¶¶ 146-187.




            6
             Even if Plaintiffs could bring class claims on behalf of others who are subject to a different
   state’s laws—which they cannot—the same analysis would apply.

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          Third, to the extent any of these claims rely on state-law licensing requirements, there is

   no private right of action related to those state’s licensing regimes. “If a statute does not expressly

   create a private cause of action, one does not exist…By now, Congress is well aware of

   this presumption and how to provide private remedies.” Ormet Corp. v. Ohio Power Co., 98 F.3d

   799, 805 (4th Cir. 1996). So, while there might be an enforcement mechanism for state regulators,

   private plaintiffs cannot vindicate the states’ licensing regimes in federal court.

          Fourth, these state law claims are styled as ones for a declaratory judgment, see Doc. 99 ¶¶

   236, 249, but a declaratory judgment action is not an affirmative claim for relief. Rather, these

   purported causes of action are remedies. Artis v. TMobile USA, Inc., No. PJM 18-2575, 2019 WL

   1427738, at *5 (D. Md. Mar. 29, 2019) (“[B]oth a declaratory judgment and an injunction are

   remedies, not independent claims themselves. . . .”); Young v. Ditech Fin., LLC, No. PX 16-3986,

   2017 WL 3066198, at *8 (D. Md. July 19, 2017) (court cannot issue declaratory judgment under

   28 U.S.C. § 2201 or injunction under Federal Rule of Civil Procedure 65 “unless an independent

   valid cause of action survives challenge”).

          Absent an independent valid cause of action against the Tribal Defendants, Plaintiffs claims

   under the Declaratory Judgment Act and for “Violations of State Law” must also be dismissed.

   See, e.g., Eseni v. RIMSI Corp., No. AW-07-2384, 2007 WL 9782599, at *4 & n.4 (D. Md. Dec.

   6, 2007) (dismissing request for injunctive relief where it was unavailable under statutes providing

   alleged causes of action); Hauk v. LVNV Funding, LLC, 749 F. Supp. 2d 358, 368-69 (D. Md.

   2010) (dismissing count for declaratory and injunctive relief, noting “[t]he principal deficiency

   with the plaintiffs’ argument is that the amended complaint does not cite any federal or state

   statutes that independently entitle the plaintiffs to declaratory or injunctive relief”); Artis, 2019

   WL 1427738, at *5 (“Since declaratory and injunctive relief are remedies unavailable to plaintiffs



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   under both the [Maryland Consumer Protection Act] and the [Maryland Consumer Debt Collection

   Act] . . . there is no basis for the Court to grant his request for declaratory and injunctive relief.”).

           The fact that Plaintiffs sue the Tribal Defendants in their official capacities in an effort to

   invoke the Ex parte Young exception to sovereign immunity does not change this analysis.

   Plaintiffs cannot manufacture Ex parte Young claims by styling Declaratory Judgment Act claims

   and other procedural remedies as independent claims for relief. “Ex parte Young does not supply

   a right of action by itself. . . . Ex parte Young provides a path around sovereign immunity if the

   plaintiff already has a cause of action from somewhere else.” Michigan Corrections Org. v.

   Michigan Dep't of Corrections, 774 F.3d 895, 902-07 (6th Cir. 2014) (finding Ex parte Young did

   not apply to private plaintiffs’ Declaratory Judgment Act claim against state officials alleging

   violation of Fair Labor Standards Act because statute precluded private party injunction actions);

   Spiteri v. Russo, No. 12-cv-2780, 2013 WL 4806960, at *19 & n.30 (E.D.N.Y. Sept. 7, 2013)

   (assuming without deciding that defendants could be sued for declaratory and injunctive relief

   under Ex parte Young; holding requests for injunctive and declaratory relief should be dismissed

   because plaintiff failed to state an underlying claim for relief); Harris v. Florida, No. 8:16-cv-12-

   T-27MAP, 2016 WL 656977, at *2 (M.D. Fla. Jan. 12, 2016) (noting that Declaratory Judgment

   Act “does not provide an independent cause of action for determination of the constitutionality of

   a statute” and that “[a]n appropriate way for Plaintiff to challenge the constitutionality of the state

   laws at issue (if indeed he can go forward notwithstanding the Eleventh Amendment’s

   jurisdictional bar) is under the federal civil rights statute, 42 U.S.C. § 1983”); Springsteen v.

   Combs, No. A-13-CV-427, 2013 WL 5305312, at *4 (W.D. Tex. Sept. 19, 2013) (“The Declaratory

   Judgment Act is insufficient by itself to establish a federal cause of action sufficient to qualify for

   the Ex Parte Young exception to immunity that requires that [plaintiff] make out a federal claim.”).



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   C.     Plaintiffs’ Unjust Enrichment Claim is Not Asserted Against Tribal Defendants.

          Plaintiffs’ only remaining claim is Count V for unjust enrichment. This claim is not

   asserted against the Tribal Defendants. See Doc. 99 at ¶ 262. As a result, Count V provides no

   basis to keep Tribal Defendants in the case.

   V.     CONCLUSION

          For the reasons set forth above, the Tribal Defendants ask that Plaintiffs’ Amended

   Complaint be dismissed for failure to state a plausible claim against Tribal Defendants.

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                                    CERTIFICATE OF SERVICE

           I hereby certify that on November 17, 2022, a copy of the foregoing was filed electronically
   with the Clerk of Court using the CM/ECF system. Notice of this filing will be sent to all counsel
   of record registered to receive electronic service by operation of the court’s electronic filing
   system.
                                                 /s/ Alan D. Wingfield
                                                 Alan D. Wingfield




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